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    Proposed Co-Counsel for the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                                           )
    In re:                                                                 )   Chapter 11
                                                                           )
    BARNEYS NEW YORK, INC., et al.,1                                       )   Case No. 19-36300 (CGM)
                                                                           )
                                        Debtors.                           )   (Joint Administration Requested)
                                                                           )

                DEBTORS’ MOTION FOR ENTRY OF INTERIM AND
           FINAL ORDERS (I) AUTHORIZING THE PAYMENT OF CERTAIN
        PREPETITION TAXES AND FEES AND (II) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion.2


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Barneys New York, Inc. (1818); Barney’s Inc. (2980); BNY Catering, Inc. (4434); BNY
      Licensing Corp. (4177); and Barneys Asia Co. LLC (0819). The location of the Debtors’ service address is 575
      Fifth Avenue, New York, New York 10017.
2     A detailed description of the Debtors and their business, and the facts and circumstances supporting the Debtors’
      chapter 11 cases, are set forth in greater detail in the Declaration of Mohsin Y. Meghji, Chief Restructuring Officer
      of Barneys New York, Inc., in Support of Debtors’ Chapter 11 Petitions and First Day Motions (the “First Day
      Declaration”), filed contemporaneously herewith. Capitalized terms used but not otherwise defined in this motion
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                                              Relief Requested

       1.       The Debtors seek entry of interim and final orders substantially in the forms

attached hereto as Exhibit A and Exhibit B (respectively, the “Interim Order” and “Final Order”),

(a) authorizing the Debtors to remit and pay (or use tax credits to offset) Taxes and Fees (as defined

below), and (b) granting related relief. In addition, the Debtors request that the Court (as defined

below) schedule a final hearing within approximately twenty-five days of the commencement of

these chapter 11 cases to consider entry of the Final Order.

                                         Jurisdiction and Venue

       2.       The United States Bankruptcy Court for the Southern District of New York

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the Southern

District of New York, dated February 1, 2012. The Debtors confirm their consent, pursuant to rule

7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the Court

entering a final order in connection with this motion to the extent that it is later determined that

the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

       3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.       The statutory bases for the relief requested herein are sections 105(a), 363(b),

507(a)(8), and 541 of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),

Bankruptcy Rules 6003 and 6004, and rule 9013-1(a) of the Local Bankruptcy Rules for the

Southern District of New York (the “Local Rules”).




   shall have the meanings ascribed to them in the First Day Declaration.



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                                                 Background

        5.       The Debtors are a world-renowned luxury specialty retailer with twenty-two stores

across the United States, including flagships in New York City and Beverly Hills, and a highly

curated, shopper-friendly e-commerce platform. Founded as a men’s retailer in 1923 in downtown

Manhattan, the Debtors sell the most intriguing fashion offering from the world’s top designers,

including women’s and men’s clothing, accessories, shoes, jewelry, cosmetics, fragrances, and

gifts for the home. The Debtors remain headquartered in New York, New York and lease all of

their store locations. The Debtors reported revenues of approximately $800 million for 2018. As

of the date hereof (the “Petition Date”), the Debtors have approximately 2,300 employees and

funded debt obligations of approximately $200 million.

        6.       On the Petition Date, each of the Debtors filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code. The Debtors are operating their business and managing their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

Concurrently with the filing of this motion, the Debtors filed a motion requesting procedural

consolidation and joint administration of these chapter 11 cases pursuant to Bankruptcy Rule

1015(b). No request for the appointment of a trustee or examiner has been made in these

chapter 11 cases, and no committees have been appointed or designated.

                                               Taxes and Fees

        7.       The Debtors collect, incur, and pay sales taxes, use taxes, annual report and

licensing fees, personal property taxes, franchise taxes and fees, and various other governmental

taxes, fees, and assessments (collectively, the “Taxes and Fees”).3 The Debtors pay or remit the



3   The Debtors do not seek the authority to collect and remit state and federal employee-related withholding taxes
    by this motion. Such relief is instead requested in the Debtors’ Motion for Entry of Interim and Final Orders
    (I) Authorizing the Debtors to (A) Pay Prepetition Employee Wages, Salaries, Other Compensation, and
    Reimbursable Employee Expenses and (B) Continue Employee Benefits Programs and (II) Granting Related


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Taxes and Fees to various federal, state, and local governmental units, including taxing authorities

(collectively, the “Governmental Authorities”), as requested.                       A schedule identifying the

Governmental Authorities is attached hereto as Exhibit C.4 Taxes and Fees are typically remitted

and paid through checks and electronic transfers that are processed through the Debtors’ cash

management banks.

           8.       The Debtors estimate that approximately $10.4 million in Taxes and Fees relating

to the prepetition period have accrued and may become due and owing after the Petition Date,

approximately $4.64 million of which is due and payable within the next twenty-one days.5

                                                                                Approximate           Approximate
                                                                              Amount Accrued as        Amount Due
         Category                            Description                       of Petition Date       within 21 Days
    Sales and Use Taxes    The Debtors collect and remit sales, use, and              $6.9 million        $4.0 million
                           related taxes to the Government Authorities in
                           various states in connection with the sale of
                           goods or services at store locations in those
                           states, or through shipment of products
                           purchased through the Debtors’ web and
                           mobile platforms. Generally, the Debtors
                           collect and remit sales and use taxes to the
                           relevant Governmental Authorities on a
                           weekly, monthly, or quarterly basis,
                           depending on sales volume and the applicable
                           jurisdiction.

    Personal Property      State and local laws in the jurisdictions where            $1.0 million                 $0
    Taxes                  the Debtors operate generally grant the
                           Governmental Authorities the power to levy
                           property taxes against the Debtors’ personal
                           property. To avoid the imposition of statutory
                           liens on their personal property, the Debtors
                           typically pay these taxes in the ordinary course
                           of business on a monthly basis.



      Relief, filed contemporaneously herewith.

4     Although Exhibit C is intended to be comprehensive, the Debtors may have inadvertently omitted one or more
      Governmental Authorities. The Debtors request relief applicable to all Governmental Authorities, regardless of
      whether such Governmental Authority is specifically identified on Exhibit C.
5     The estimates contained herein do not include any prepetition liability that may arise as a result of an audit (if
      any).



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                                                                           Approximate         Approximate
                                                                         Amount Accrued as      Amount Due
      Category                         Description                        of Petition Date     within 21 Days
 Custom Fees          The vast majority of the Debtors’ fee                       $500,000          $400,000
                      obligations are customs fees that the Debtors
                      owe to the United States government on
                      account of the importation of foreign goods to
                      the United States. Moreover, the majority of
                      the Debtors’ customs-related obligations are
                      secured, as the Debtors have posted a bond in
                      favor of the United States government that is
                      backed by a letter of credit issued under the
                      Debtors’ prepetition asset-based revolving
                      credit facility. The customs fees are incurred
                      daily and are debited monthly from the
                      Debtors’ bank accounts. Failure to pay and
                      continue to honor the customs fees on a
                      postpetition basis (including with respect to
                      prepetition amounts) would disrupt the flow of
                      the Debtors’ supply chain, as the importation
                      of foreign goods is especially vital to the
                      Debtors’ business—for example, on an annual
                      basis, the Debtors import millions in goods.
                      Additionally, failing to pay and continue to
                      honor the customs fees likely would lead to the
                      letter of credit being drawn, thereby increasing
                      the amount of the Debtors’ secured
                      indebtedness and further limiting the Debtors’
                      liquidity during these chapter 11 cases as the
                      Debtors likely would be required to issue a
                      replacement letter of credit.

 State Income and     The Debtors pay income or similar taxes to                $1.6 million        $200,000
 Other Tax            certain state Governmental Authorities to
                      operate their businesses in the applicable
                      taxing jurisdictions. States assess these taxes
                      in one of the following manners: (a) a
                      minimum tax on all businesses; (b) a tax based
                      on gross receipts, gross margin, or net
                      operating income; (c) a tax on an entity’s total
                      capital/equity or pro forma calculation thereof,
                      or (d) other similar payment obligations. The
                      Debtors pay such taxes on a monthly,
                      quarterly, or annual basis, as applicable.

 Business License     The Debtors operate in jurisdictions that                   $400,000            $40,000
 Fees                 impose business licensing fees and other
                      similar fees, which the Debtors pay in the
                      ordinary course of business.

                                                                Total          $10.4 million     $4.64 million




                                                      5
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                                                Basis for Relief

I.        Certain of the Taxes and Fees Are Not Property of the Debtors’ Estates.

          9.       Many of the Taxes and Fees are collected or withheld by the Debtors on behalf of

the applicable Governmental Authorities and are held in trust by the Debtors. See, e.g., I.R.C.

§ 7501 (stating that certain taxes and fees are held in trust). As such, these Taxes and Fees are not

property of the Debtors’ estates under section 541 of the Bankruptcy Code. See, e.g., 11 U.S.C.

§ 541(d); Begier v. IRS, 496 U.S. 53, 57–60 (1990) (holding that any prepetition payment of trust

fund taxes is not an avoidable preference since funds are not the debtor’s property); In re Shank,

792 F.2d 829, 833 (9th Cir. 1986) (finding that sales tax required by state law to be collected by

sellers from their customers is a “trust fund” tax and not released by bankruptcy discharge);

DeChiaro v. N.Y. State Tax Comm’n, 760 F.2d 432, 435–36 (2d Cir. 1985) (same). To the extent

these “trust fund” taxes are collected, they are not property of the Debtors’ estates under

section 541(d) of the Bankruptcy Code. See In re Am. Int’l Airways, Inc., 70 B.R. 102, 104–05

(Bankr. E.D. Pa. 1987). Because the Debtors may not have an equitable interest in funds held on

account of such “trust fund” taxes, the Debtors should be permitted to pay those funds to the

Governmental Authorities as they become due.6

II.       Payment of the Taxes and Fees as Provided Herein Is a Sound Exercise of the Debtors’
          Business Judgment.

          10.      Courts in this jurisdiction generally acknowledge that it is appropriate to authorize

the payment of prepetition obligations where necessary to protect and preserve the estate. See In

re Ionosphere Clubs, Inc., 98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989) (authority to pay prepetition

wages); Armstrong World Indus., Inc. v. James A. Phillips, Inc. (In re James A. Phillips, Inc.),



6     For the avoidance of doubt, the Debtors hereby request authority to pay the Taxes and Fees as provided herein
      regardless of whether such Taxes and Fees constitute trust fund obligations.



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29 B.R. 391, 398 (S.D.N.Y. 1983) (authority to pay prepetition claims of suppliers); see also

In re CoServ, L.L.C., 273 B.R. 487, 497 (Bankr. N.D. Tex. 2002). In so doing, these courts

acknowledge that several legal theories rooted in sections 105(a) and 363(b) of the Bankruptcy

Code support the payment of prepetition claims as requested herein.

       11.     Pursuant to section 363(b) of the Bankruptcy Code, courts may authorize payment

of prepetition obligations where a sound business purpose exists for doing so. See Ionosphere

Clubs, 98 B.R. at 175 (noting that section 363(b) provides “broad flexibility” to authorize a debtor

to honor prepetition claims where supported by an appropriate business justification); see also

James A. Phillips, Inc., 29 B.R. at 397 (relying upon section 363 as a basis to allow a contractor to

pay the prepetition claims of suppliers who were potential lien claimants). Indeed, courts have

recognized that there are instances when a debtor’s fiduciary duty can “only be fulfilled by the

preplan satisfaction of a prepetition claim.” CoServ, 273 B.R. at 497.

       12.     In addition, courts may authorize payment of prepetition claims in appropriate

circumstances based on section 105(a) of the Bankruptcy Code. Section 105(a) codifies the

Court’s inherent equitable powers to “issue any order, process, or judgment that is necessary or

appropriate to carry out the provisions of this title.” Under section 105(a), courts may authorize

pre-plan payments of prepetition obligations when essential to the continued operation of a

debtor’s businesses. See In re C.A.F. Bindery, Inc., 199 B.R. 828, 835 (Bankr. S.D.N.Y. 1996);

see also In re Fin. News Network Inc., 134 B.R. 732, 735–36 (Bankr. S.D.N.Y. 1991) (holding

that the “doctrine of necessity” stands for the principle that a bankruptcy court may allow pre-plan

payments of prepetition obligations where such payments are critical to the debtor’s

organization”).   Specifically, the Court may use its power under section 105(a) of the




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Bankruptcy Code to authorize payment of prepetition obligations pursuant to the “necessity of

payment” rule (also referred to as the “doctrine of necessity”). Ionosphere Clubs, 98 B.R. at 176.

       13.      These standards are satisfied here. The Debtors’ ability to pay the Taxes and Fees

is critical to the efficient and value-maximizing administration of the Debtors’ estates. If certain

Taxes and Fees remain unpaid, Governmental Authorities may seek to impose penalties on the

Debtors’ directors, officers, or employees, thereby distracting them from the administration of the

Debtors’ chapter 11 cases. See, e.g., N.Y. Tax Law § 1133 (“[E]very person required to collect

any tax imposed by this article shall be personally liable for the tax imposed, collected or required

to be collected under this article.”); see, e.g., Schmehl v. Helton, 662 S.E.2d 697, 707 (W. Va.

2008) (noting that corporate officers may be held responsible for payment of certain corporate

taxes). Any collection action on account of such penalties, and any ensuing liability, would distract

the Debtors and their personnel to the detriment of all parties in interest. The dedicated and active

participation of the Debtors’ officers and employees is essential to the orderly administration of

these chapter 11 cases and maximizing the value of the Debtors’ estates for the benefit of their

stakeholders.

       14.      Furthermore, the Debtors’ liability to pay Taxes and Fees may ultimately result in

increased tax liability for the Debtors if interest and penalties accrue on account of such claims.

Many of the Taxes and Fees may be entitled to priority status pursuant to section 507(a)(8)(C) of

the Bankruptcy Code. As priority claims, these obligations must be paid in full before any general

unsecured obligations of the Debtors may be satisfied. The Debtors’ failure to pay the prepetition

Taxes and Fees as they come due thus may ultimately increase the amount of priority claims held

by the Governmental Authorities against the Debtors’ estates to the detriment of the Debtors’

general unsecured creditors and other stakeholders.          See 11 U.S.C. § 507(a)(8)(C), (G).




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Accordingly, the Court should grant the Debtors authority to pay Taxes and Fees as provided

herein.

          15.    Courts in this jurisdiction have often authorized payment of prepetition taxes under

section 363(b) of the Bankruptcy Code.               See, e.g., In re Hollander Sleep Products, LLC,

Case No. 19-11608 (MEW) (Bankr. S.D.N.Y. July 2, 2019) (authorizing debtors to pay prepetition

taxes); In re Windstream Holdings, Inc., Case No. 19-22312 (RDD) (Bankr. S.D.N.Y. Apr. 22,

2019) (same); In re FULLBEAUTY Brands Holdings Corp., Case No. 19-22185 (Bankr. S.D.N.Y.

Feb. 7, 2019) (RDD) (same); In re Aegean Marine Petroleum Network Inc., Case No. 18-13374

(MEW) (Bankr. S.D.N.Y. Dec. 6, 2018) (same); In re Nine West Holdings, Inc., Case

No. 18-10947 (SCC) (Bankr. S.D.N.Y. May 7, 2018) (same).7

           Processing of Checks and Electronic Fund Transfers Should Be Authorized

          16.    The Debtors have sufficient funds to pay the amounts described in this motion by

virtue of expected cash flows during these chapter 11 cases, debtor-in-possession financing, and

anticipated access to cash collateral. In addition, under the Debtors’ existing cash management

system, the Debtors can readily identify checks or wire transfer requests relating to an authorized

payment related to this motion. Accordingly, the Debtors believe that checks or wire transfer

requests, other than those relating to authorized payments, will not be honored inadvertently.

Therefore, the Debtors respectfully request that the Court authorize and direct all applicable

financial institutions, when requested by the Debtors, to receive, process, honor, and pay any and

all checks or wire transfer requests in respect of the relief requested herein.




7   Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
    Copies of these orders are available upon request to the Debtors’ proposed counsel.



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                  The Requirements of Bankruptcy Rule 6003 Are Satisfied

       17.     Bankruptcy Rule 6003 empowers a court to grant relief within the first twenty-one

days after the Petition Date “to the extent that relief is necessary to avoid immediate and irreparable

harm.” For the reasons discussed above, authorizing the Debtors to pay the Taxes and Fees and

granting the other relief requested herein is integral to the Debtors’ ability to transition their

operations into these chapter 11 cases and maintain the value of their estate postpetition. Failure

to receive such authorization and other relief during the first twenty-one days of these chapter 11

cases would severely disrupt the Debtors’ ability to maintain their estates at this critical juncture.

For the reasons discussed herein, the relief requested is necessary in order for the Debtors to

operate their business in the ordinary course, preserve the going concern value of the Debtors’

operations, and maximize the value of their estates for the benefit of all stakeholders. Accordingly,

the Debtors submit that they have satisfied the “immediate and irreparable harm” standard of

Bankruptcy Rule 6003 to support granting the relief requested herein.

                                          Motion Practice

       18.     This motion includes citation to the applicable rules and statutory authorities upon

which the relief requested herein is predicated and a discussion of their application to this

motion. Accordingly, the Debtors submit that this motion satisfies Local Rule 9013-1(a).

                                       Reservation of Rights

       19.     Nothing contained in this motion or any actions taken by the Debtors pursuant to

relief granted in the Interim and Final Order is intended or should be construed as: (a) an admission

as to the validity, priority, or amount of any particular claim against a Debtor entity; (b) a waiver

of the Debtors’ or any other party-in-interest’s rights to dispute any particular claim on any

grounds; (c) a promise or requirement to pay any particular claim; (d) an implication or admission




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that any particular claim is of a type specified or defined in this motion; (e) a request or

authorization to assume any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; (f) a waiver or limitation of the Debtors’ or any other party-in-interest’s rights

under the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors or any

other party-in-interest that any liens (contractual, common law, statutory, or otherwise) satisfied

pursuant to this motion are valid and the Debtors and all other parties-in-interest expressly reserve

their rights to contest the extent, validity, or perfection, or to seek avoidance of all such liens.

If the Court grants the relief sought herein, any payment made pursuant to the Court’s order is not

intended and should not be construed as an admission as to the validity, priority, or amount of any

particular claim or a waiver of the Debtors’ or any other party-in-interest’s rights to subsequently

dispute such claim.

                       Waiver of Bankruptcy Rule 6004(a) and 6004(h)

       20.     To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

that the Debtors have established cause to exclude such relief from the 14-day stay period under

Bankruptcy Rule 6004(h).

                                              Notice

       21.     The Debtors will provide notice of this motion to: (a) the United States Trustee for

the Southern District of New York; (b) the holders of the thirty largest unsecured claims against

the Debtors (on a consolidated basis); (c) counsel to the Prepetition ABL Agent; (d) counsel to the

Term Loan Agent; (e) counsel to the DIP parties; (f) the United States Attorney’s Office for the

Southern District of New York; (g) the Internal Revenue Service; (h) the United States Securities

and Exchange Commission; (i) the state attorneys general for all states in which the Debtors

conduct business; (j) the Governmental Authorities; and (k) any party that has requested notice


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pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be given.

                                        No Prior Request

         22.   No prior motion for the relief requested herein has been made to this or any other

court.

                           [Remainder of page intentionally left blank]




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       WHEREFORE, the Debtors respectfully request entry of interim and final orders,

substantially in the forms attached hereto as Exhibit A and Exhibit B, respectively, granting the

relief requested herein and such other relief as is just and proper.

Dated: August 6, 2019                  /s/ Joshua A. Sussberg, P.C.
New York, New York                     Edward O. Sassower, P.C.
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                                       Chad J. Husnick, P.C.
                                       W. Benjamin Winger (pro hac vice pending)
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                                       -and-
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                                       Proposed Co-Counsel for the Debtors and Debtors in Possession
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                                   EXHIBIT A

                              Proposed Interim Order
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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
                                                                         )
    In re:                                                               )    Chapter 11
                                                                         )
    BARNEYS NEW YORK, INC., et al.,1                                     )    Case No. 19-36300 (CGM)
                                                                         )
                                       Debtors.                          )    (Joint Administration Requested)
                                                                         )

          INTERIM ORDER (I) AUTHORIZING THE PAYMENT OF CERTAIN
        PREPETITION TAXES AND FEES AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an interim order (this “Interim Order”), (a) authorizing

the Debtors to pay certain accrued and outstanding prepetition Taxes and Fees, and (b) scheduling

a final hearing to consider approval of the Motion on a final basis, and (c) granting related relief,

all as more fully set forth in the Motion; and upon the First Day Declaration; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the Southern District of New York,

dated February 1, 2012; and this Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and this Court having found that venue of this proceeding and the Motion

in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate under the circumstances and no other



1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Barneys New York, Inc. (1818); Barney’s Inc. (2980); BNY Catering, Inc. (4434); BNY
      Licensing Corp. (4177); and Barneys Asia Co. LLC (0819). The location of the Debtors’ service address is 575
      Fifth Avenue, New York, New York 10017.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

and this Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

       1.      The Motion is granted on an interim basis as set forth herein.

       2.      The final hearing (the “Final Hearing”) on the Motion shall be held on _________,

2019, at__:__ _.m., prevailing Eastern Time. Any objections or responses to entry of a final order

on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on _________, 2019,

and shall be served on: (a) Barneys New York, Inc., 575 Fifth Avenue, New York, New York

10017; Attn: Grace Fu; (b) proposed co-counsel to the Debtors, Kirkland & Ellis LLP,

601 Lexington Avenue, New York, New York 10022, Attn: Edward O. Sassower, P.C.,

Joshua A. Sussberg, P.C., and Gene Goldmintz, Kirkland & Ellis LLP, 300 North LaSalle Street,

Chicago, Illinois 60654, Attn: Chad J. Husnick, P.C. and W. Benjamin Winger, and Katten

Muchin Rosenman LLP, 575 Madison Avenue, New York, New York 10022, Attn: Steven J.

Reisman; (c) the United States Trustee, 11A Clinton Avenue, Room 620, Albany, New York

12207, Attn: Alicia Leonhard; (d) counsel to any statutory committee appointed in these chapter

11 cases; (e) counsel to the Prepetition ABL Agent, (x) Riemer & Braunstein LLP, 100 Cambridge

Street, Boston, Massachusetts 02114, Attn: Donald E. Rothman and (y) Riemer & Braunstein LLP,

Times Square Tower, Seven Times Square, Suite 2506, New York, New York 10036, Attn: Steven

E. Fox; (f) counsel to the Term Loan Agent, Choate Hall & Stewart LLP, Two International Place,

Boston, Massachusetts 02110, Attn: Kevin J. Simard and Mark Silva; and (g) counsel to the DIP




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parties, Paul Hastings LLP, 71 South Wacker Drive, Chicago, Illinois, 60606, Attn: Chris

Dickerson and Holly Snow. In the event no objections to entry of a final order on the Motion are

timely received, this Court may enter such final order without need for the Final Hearing.

       3.      The Debtors are authorized, but not directed, to pay or remit (or use tax credits to

offset) Taxes and Fees, whether accrued prior to or after the Petition Date, that are payable during

the pendency of these chapter 11 cases at such time when the Taxes and Fees are payable in the

ordinary course of business. To the extent that the Debtors have overpaid any Tax or Fee, the

Debtors are authorized to seek a refund or credit.

       4.      Notwithstanding the relief granted in this Interim Order and any actions taken

pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

validity, priority, or amount of any particular claim against a Debtor entity; (b) a waiver of the

Debtors’ or any other party-in-interest’s right to dispute any particular claim on any grounds; (c) a

promise or requirement to pay any particular claim; (d) an implication or admission that any

particular claim is of a type specified or defined in this Interim Order or the Motion; (e) a request

or authorization to assume any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; (f) a waiver or limitation of the Debtors’ or any other party-in-interest’s rights

under the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors or any

other party-in-interest that any liens (contractual, common law, statutory, or otherwise) satisfied

pursuant to this Interim Order are valid and the Debtors and all other parties-in-interest expressly

reserve their rights to contest the extent, validity, or perfection or to seek avoidance of all such

liens. Any payment made pursuant to this Interim Order should not be construed as an admission

as to the validity, priority, or amount of any particular claim or a waiver of the Debtors’ or any

other party-in-interest’s rights to subsequently dispute such claim.




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       5.       The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the prepetition obligations approved herein are authorized

and directed to receive, process, honor, and pay all such checks and electronic payment requests

when presented for payment, and all such banks and financial institutions are authorized to rely on

the Debtors’ designation of any particular check or electronic payment request as approved by this

Interim Order without any duty of further inquiry and without liability for following the Debtors’

instructions.

       6.       The Debtors are authorized to issue postpetition checks, or to effect postpetition

fund transfer requests, in replacement of any checks or fund transfer requests that are dishonored

as a consequence of these chapter 11 cases with respect to prepetition amounts owed in connection

with any Taxes and Fees.

       7.       Notwithstanding the relief granted in this Interim Order, any payment made by the

Debtors pursuant to the authority granted herein shall be subject to and in compliance with any

orders entered by the Court approving the Debtors’ entry into any postpetition debtor in possession

financing facility and any budget in connection therewith and/or authorizing the Debtors’ use of

cash collateral and any budget in connection therewith.

       8.       The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

       9.       Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       10.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order are immediately effective and enforceable upon its entry.

       11.      The Debtors are authorized to take all actions necessary to effectuate the relief




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granted in this Interim Order in accordance with the Motion.

       12.     Nothing in this Interim Order authorizes the Debtors to accelerate any payments

not otherwise due prior to the date of the Final Hearing.

       13.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order.



 Dated: ____________, 2019
 Poughkeepsie, New York                              THE HONORABLE CECELIA G. MORRIS
                                                     UNITED STATES BANKRUPTCY JUDGE




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                                   EXHIBIT B

                               Proposed Final Order
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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
                                                                         )
    In re:                                                               )    Chapter 11
                                                                         )
    BARNEYS NEW YORK, INC., et al.,1                                     )    Case No. 19-36300 (CGM)
                                                                         )
                                       Debtors.                          )    (Joint Administration Requested)
                                                                         )

           FINAL ORDER (I) AUTHORIZING THE PAYMENT OF CERTAIN
        PREPETITION TAXES AND FEES AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of a final order (this “Final Order”), (a) authorizing the

Debtors to pay certain accrued and outstanding prepetition Taxes and Fees; and (b) granting related

relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and this Court

having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the Southern District of

New York, dated February 1, 2012; and this Bankruptcy Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter a final order consistent

with Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and this Court having found that the Debtors’

notice of the Motion and opportunity for a hearing on the Motion were appropriate and no other



1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Barneys New York, Inc. (1818); Barney’s Inc. (2980); BNY Catering, Inc. (4434); BNY
      Licensing Corp. (4177); and Barneys Asia Co. LLC (0819). The location of the Debtors’ service address is 575
      Fifth Avenue, New York, New York 10017.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

and this Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

       1.      The Motion is granted on a final basis as set forth herein.

       2.      The Debtors are authorized, but not directed, to pay or remit (or use tax credits to

offset) Taxes and Fees, whether accrued prior to or after the Petition Date, that are payable during

the pendency of these chapter 11 cases at such time when the Taxes and Fees are payable in the

ordinary course of business. To the extent that the Debtors have overpaid any Tax or Fee, the

Debtors are authorized to seek a refund or credit.

       3.      Notwithstanding the relief granted in this Final Order and any actions taken

pursuant to such relief, nothing in this Final Order shall be deemed: (a) an admission as to the

validity, priority, or amount of any particular claim against a Debtor entity; (b) a waiver of the

Debtors’ or any other party-in-interest’s right to dispute any particular claim on any grounds; (c) a

promise or requirement to pay any particular claim; (d) an implication or admission that any

particular claim is of a type specified or defined in this Final Order or the Motion; (e) a request or

authorization to assume any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; (f) a waiver or limitation of the Debtors’ or any other party-in-interest’s rights

under the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors or any

other party-in-interest that any liens (contractual, common law, statutory, or otherwise) satisfied

pursuant to this Final Order are valid and the Debtors and all other parties-in-interest expressly




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reserve their rights to contest the extent, validity, or perfection or to seek avoidance of all such

liens. Any payment made pursuant to this Final Order should not be construed as an admission as

to the validity, priority, or amount of any particular claim or a waiver of the Debtors’ or any other

party-in-interest’s rights to subsequently dispute such claim.

       4.       The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the prepetition obligations approved herein are authorized

and directed to receive, process, honor, and pay all such checks and electronic payment requests

when presented for payment, and all such banks and financial institutions are authorized to rely on

the Debtors’ designation of any particular check or electronic payment request as approved by this

Final Order without any duty of further inquiry and without liability for following the Debtors’

instructions.

       5.       The Debtors are authorized to issue postpetition checks, or to effect postpetition

fund transfer requests, in replacement of any checks or fund transfer requests that are dishonored

as a consequence of these chapter 11 cases with respect to prepetition amounts owed in connection

with any Taxes and Fees.

       6.       Notwithstanding the relief granted in this Final Order, any payment made by the

Debtors pursuant to the authority granted herein shall be subject to and in compliance with any

orders entered by the Court approving the Debtors’ entry into any postpetition debtor in possession

financing facility and any budget in connection therewith and/or authorizing the Debtors’ use of

cash collateral and any budget in connection therewith.

       7.       The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

       8.       Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied




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by such notice.

       9.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Final

Order are immediately effective and enforceable upon its entry.

       10.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Final Order in accordance with the Motion.

       11.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Final Order.



 Dated: ____________, 2019
 Poughkeepsie, New York                              THE HONORABLE CECELIA G. MORRIS
                                                     UNITED STATES BANKRUPTCY JUDGE




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                                    EXHIBIT C

                          List of Governmental Authorities
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                         Governmental Authority                                                     Address                                Type
                                                                   50 North Ripley Street
Alabama Department of Revenue                                                                                  Sales and Use Tax
                                                                   Montomery AL 36130
                                                                   1600 West Monroe Street
Arizona Department of Revenue                                                                                  Sales and Use Tax
                                                                   Phoenix, AZ 85007
                                                                   450 North Street
California Department of Tax and Fee Administration, Sacramento                                                Sales and Use Tax
                                                                   Sacramento, CA 95814
                                                                   1 Dr. Carlton B. Goodlett Place City Hall
City & County of San Francisco                                     Room 140                                    Property Taxes
                                                                   San Francisco, CA 94102
                                                                   59 Maiden Lane
City of New York Finance Dept.                                                                                 State Income and Similar Taxes
                                                                   New York, NY 10038
                                                                   PO Box 1630
City of Philadelphia                                                                                           State Income and Similar Taxes
                                                                   Philadelphia, PA 19105
                                                                   500 S. Grand Central Parkway
Clark County Nevada                                                2nd Floor                                   Property Taxes
                                                                   Las Vegas, NV 89155
                                                                   1375 Sherman Street
Colorado Department of Revenue                                                                                 Sales and Use Tax
                                                                   Denver, CO 80203
                                                                   301 W. Preston Street
Comptroller of Maryland                                                                                        Sales and Use Tax
                                                                   Baltimore, MD 21201
                                                                   450 Columbus Blvd. Suite 1
Connecticut Commissioner of Revenue Services                                                                   Sales and Use Tax
                                                                   Hartford, CT 06103
                                                                   5050 W. Tennessee Street
Florida Department of Revenue                                                                                  Sales and Use Tax
                                                                   Tallahassee, FL 32399
                                                                   141 Pryor Street SW #1085
Georgia Revenue Commissioner                                                                                   Sales and Use Tax
                                                                   Atlanta, GA 30303
                                                                   830 Punchbowl Street
Hawaii State Tax Collector, Department of Taxation, Honolulu                                                   Sales and Use Tax
                                                                   Honolulu, HI 96813
                                                                   101 West Jefferson Street
Illinois Department of Revenue                                                                                 Sales and Use Tax
                                                                   Springfield, IL 62702
                                                                   100 N. Senate Avenue
Indiana Department of Revenue                                                                                  Sales and Use Tax
                                                                   Indianapolis, IN 46204
                                                                   321 E. 12th Street
Iowa Treasurer of State, Des Moines                                                                            Sales and Use Tax
                                                                   Des Moines, IA 50319
                                                                   2283 3rd Avenue
IRS                                                                                                            State Income and Similar Taxes
                                                                   New York, NY 10035
                                                                   501 High Street
Kentucky Department of Revenue                                                                                 Sales and Use Tax
                                                                   Frankfort, KY 40601
                                                                   500 4th Avenue #600
King County Treasury                                                                                           Property Taxes
                                                                   Seattle, WA 98104
                                                                   225 North Hill Street
Los Angeles County Tax Collector                                   Room 122                                    Property Taxes
                                                                   Los Angeles, CA 90012
                                                                   617 3rd Street
Louisiana Department of Revenue                                                                                Sales and Use Tax
                                                                   Baton Rouge, LA 70802
                                                                   51 Commerce Drive
Maine Revenue Services                                                                                         Sales and Use Tax
                                                                   Augusta, ME 04330
                                                                   19 Staniford Street
Massachussetts Commissioner of Revenue                                                                         Sales and Use Tax
                                                                   Boston, MA 02114
                                                                   940 Long Boulevard
Michigan Department of Treasury                                                                                Sales and Use Tax
                                                                   Lansing, MI 48911
                                                                   600 Robert St. N.
Minneapolis Department of Revenue                                                                              Sales and Use Tax
                                                                   St Paul, MN 55101
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                        Governmental Authority                                                  Address                       Type
                                                               500 Clinton Center Drive
Mississippi Department of Revenue                                                                         Sales and Use Tax
                                                               Clinton, MS 39056
                                                               301 Centennial Mall S
Nebraska Tax Commissioner                                                                                 Sales and Use Tax
                                                               Lincoln, NE 65808
                                                               1550 E. College Pkwy #115
Nevada Department of Taxation                                                                             Sales and Use Tax
                                                               Carson City, NV 89706
                                                               50 Barrack Street
New Jersey Director, Division of Taxation                                                                 Sales and Use Tax
                                                               Trenton, NJ 08608
                                                               9, W A Harriman Campus #100
New York Department of Taxation and Finance, Albany                                                       Sales and Use Tax
                                                               Albany, NY 12207
                                                               501 N. Wilimington Street
North Carolina Secretary of Revenue                                                                       Sales and Use Tax
                                                               Raleigh, NC 27604
                                                               600 East Boulevard Ave. Dept. 127
North Dakota Tax Commissioner                                                                             Sales and Use Tax
                                                               Bismarck, ND 58505
                                                               3700 N. Classen Blvd #200
Oklahoma Tax Commission                                                                                   Sales and Use Tax
                                                               Oklahoma, OK 73118
                                                               1846 Brookwood Street
Pennsylvania Department of Revenue in Harrisburg                                                          Sales and Use Tax
                                                               Harriburg, PA 17104
                                                               1 Capitol Hill
Rhode Island Tax Administrator in Providence                                                              Sales and Use Tax
                                                               Providence, RI 02908
                                                               111 E. 17th Street
Texas Comptroller of Public Accounts                                                                      Sales and Use Tax
                                                               Austin, TX 78774
                                                               1300 Pennsylvania Avenue NW
U.S. Customs & Border Protection                                                                          Custom Fees
                                                               Washingotn, D.C. 20229
                                                               6650 Telecom Drive
U.S. Customs & Border Protection—Indianapolis                                                             Custom Fees
                                                               Indianapolis, IN 46278
                                                               210 N. 1950 W.
Utah Tax Commission in Salt Lake City                                                                     Sales and Use Tax
                                                               Salt Lake City, UT 84134
                                                               133 State Street
Vermont Department of Taxes                                                                               Sales and Use Tax
                                                               Montpelier, VT 05602
                                                               1957 Westmoreland Street
Virginia Department of Taxation in Richmond                                                               Sales and Use Tax
                                                               Richmond, VA 23230
                                                               1101 4th Street SW #270
Washington D.C. Office of Tax and Revenue                                                                 Sales and Use Tax
                                                               Washington, D.C. 20024
                                                               6500 Linderson Way SW
Washington State Department of Revenue in Olympia                                                         Sales and Use Tax
                                                               Tumwater, WA 98501
                                                               2135 Rimrock Road
Wisconsin Department of Revenue                                                                           Sales and Use Tax
                                                               Madison, WI 53708
                                                               122 W. 25th Street
Wyoming Department of Revenue                                                                             Sales and Use Tax
                                                               Cheyenne, WY 82001




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